                  Case 23-11557-LMI                  Doc 142          Filed 03/01/24            Page 1 of 2




                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA


IN RE:                                                                            CASE NO.: 23-11557-LMI

IRIS SLOTKIN
                                                                                  CHAPTER 13
      Debtor.
___________________________________/

CREDITOR ROGER SLOTKIN’S LIST OF WITNESSES FOR HEARING ON MARCH
       7, 2024 AT 9:30 A.M. ON MOTION TO CONVERT OR DISMISS

          Roger Slotkin, creditor, by and through his undersigned counsel hereby files his Creditor

Roger Slotkin’s List of Witnesses for Hearing on March 7, 2024 at 9:30 a.m. on Motion to Convert

or Dismiss, (CP#104), (exclusive of rebuttal or impeachment witnesses) as follows:

          1. Roger Slotkin
          2. Iris Slotkin
          3. Katherine Estevez
          4. Robert Young of SRT, Inc. as expert witness
          5. Any witnesses that may be listed or called by the Debtor.
                                        CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on March 1, 2024, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF, and that the foregoing document is being served this day
on all counsel of record or pro se parties authorized to receive electronically Notices of Electronic
Filing.
                                                                       BEHAR, GUTT & GLAZER, P.A.
                                                                       Attorneys for Roger M. Slotkin
                                                                       DCOTA, 1855 Griffin Road
                                                                       Suite A-350
                                                                       Ft. Lauderdale, Florida 33180
                                                                       Telephone: (305) 931-3771
                                                                       Fax: (305) 931-3774
                                                                       Bsb@bgglaw.com

                                                                       By:    /s/ Brian S. Behar
                                                                       BRIAN S. BEHAR Florida Bar No.: 727131



        BEHAR, GUTT & GLAZER, P.A. DCOTA, SUITE A-350, 1855 GRIFFIN ROAD, FORT LAUDERDALE, FLORIDA 33004
    DADE: 305-931-3771 • BROWARD: 954-733-7030 • PALM BEACH: 561-347-7160 • DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
                  Case 23-11557-LMI                  Doc 142          Filed 03/01/24            Page 2 of 2




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    DADE: 305-931-3771 • BROWARD: 954-733-7030 • PALM BEACH: 561-347-7160 • DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
